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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

   Case No. SA CV 22-00099-DOC-DFM                                    Date: March 9, 2022

   Title: JOHN C. EASTMAN V. BENNIE G. THOMPSON ET AL.


   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                 Karlen Dubon                                  Not Present
                Courtroom Clerk                               Court Reporter

         ATTORNEYS PRESENT FOR                       ATTORNEYS PRESENT FOR
               PLAINTIFF:                                 DEFENDANT:
              None Present                                 None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RE: IN CAMERA REVIEW
                                    OF JANUARY 4-7, 2021
                                    DOCUMENTS

          This case concerns the Select Committee to Investigate the January 6 Attack on
   the US Capitol’s (“Select Committee”) attempt to obtain emails and attachments sent or
   received by Dr. John Eastman on his Chapman University email account. The parties
   disagree on whether 111 emails from January 4-7, 2021 are privileged or if they should
   be disclosed. Dr. Eastman has produced privilege logs that list the people on each email,
   a summary of its contents, and why he believes it is privileged. Courts ordinarily
   determine privilege through privilege logs, but courts may read communications in
   camera, meaning privately. The Select Committee has asked that the Court read Dr.
   Eastman’s emails between January 4-7, 2021, partly due to the privilege logs’ vagueness.
   Opposition (“Opp’n”) (Dkt. 164) at 2. On March 8, 2022, the Court held a hearing on the
   privilege claims. The Court below determines that review of the emails is appropriate.

   I.    Legal Standard

        Courts ask two questions to determine whether to review allegedly privileged
   documents. First, the court asks whether the opponent has provided evidence “to support
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   a good faith belief by a reasonable person that in camera review of the materials may
   reveal evidence that information in the materials is not privileged.” 1 The threshold at this
   first step is “not . . . a stringent one” because court review is only a limited intrusion on
   attorney-client privilege. 2

          If the opponent has provided enough evidence, the court then asks whether it
   should review the documents. The court considers factors including the volume of
   documents, the importance of the information to the case, and the likelihood that a review
   will show that the documents are not privileged or that an exception applies. 3

   II.      Discussion

          The Select Committee raises a host of arguments that Dr. Eastman’s emails were
   not privileged, and even if they were, that privilege was destroyed through waiver or an
   exception. The Court must first determine if a privilege initially existed before reaching
   waiver or exceptions. To streamline its decision on whether review is appropriate, the
   Court begins with arguments on whether the privilege existed.

          Dr. Eastman claims two types of privilege over these emails. First, he asserts
   attorney-client privilege, which protects confidential communications between attorneys
   and clients for the purpose of legal advice. 4 The Select Committee argues that the
   inclusion of unrelated third parties on Dr. Eastman’s emails destroys confidentiality.
   Opp’n at 21. “[T]here is no confidentiality where a third party . . . either receives or
   generates the documents.” 5 In the privilege logs, Dr. Eastman lists several senders or
   recipients of emails as “attorney[s]” or “consultant[s].” At the hearing, the Select
   Committee noted that Dr. Eastman provided no retainer agreements or declarations to
   support these co-counsel or agent relationships. There is enough evidence to reasonably
   believe that the emails might reveal that the third parties had no privileged relationship
   with Dr. Eastman or President Trump.

         Second, Dr. Eastman claims the emails are protected by the work product doctrine,
   which shields documents prepared by or for a party or their representative in anticipation



   1
     In re Grand Jury Investigation, 974 F.2d 1068, 1075 (9th Cir. 1992).
   2
     Id. at 1072.
   3
     United States v. Zolin, 491 U.S. 554, 572 (1989); Grand Jury Investigation, 974 F.2d at 1075.
   4
     Upjohn Co. v. United States, 449 U.S. 383, 389 (1981).
   5
     Reiserer v. United States, 479 F.3d 1160, 1165 (9th Cir. 2007).
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   of litigation. 6 The Select Committee argues that the documents are not protected work
   product because they aimed to persuade Vice President Pence to act, as opposed to
   pursuing litigation on the Electoral Count Act. Opp’n at 31. The Select Committee points
   to Dr. Eastman’s January 3, 2021 memorandum to President Trump, which states, “[t]he
   main thing here is that Pence should do this without asking for permission—either from a
   vote of the joint session or from the Court.” Id. at 9 n.27 (quoting Eastman Memorandum
   (emphasis added)). The Select Committee also suggests that these emails could relate to
   Dr. Eastman’s non-litigation activities on behalf of President Trump, such as meeting
   with state legislators about certifying electors. Dr. Eastman’s privilege logs do not
   indicate what litigation was anticipated; the log entries simply state that emails were
   made considering “possible litigation” or “contemplating litigation.” This evidence
   sufficiently supports a reasonable belief that the emails may reveal that they were not
   created in anticipation of litigation.

          Since the Select Committee has met its burden, the Court decides whether to
   review the emails. The circumstances of this case favor review. In part due to the parties’
   cooperation to exclude extraneous emails, there are only 111 challenged documents
   between January 4-7, 2021. As the Court has previously noted, the evidence suggests that
   communications from those days are essential to the Select Committee’s pressing
   investigation. As Dr. Eastman expressed in his briefing and at the hearing, whether the
   documents are privileged “will be manifest during this Court’s review.” Reply (Dkt. 185)
   at 15. Accordingly, the Court will review the documents from January 4-7, 2021 to
   evaluate Dr. Eastman’s privilege claims.

   III.     Disposition

           Accordingly, the Court will now read the emails and their attachments. The Court
   notes that there is “a considerably lower threshold for conducting in camera review than
   for fully disclosing documents”—reading the emails does not mean that the Court will
   ultimately require disclosure. 7 Moreover, the Court’s future analysis will not be limited to
   its discussion of whether review of the emails was warranted.

          After reading the emails, the Court will determine for each document whether any
   privilege existed, whether that privilege was waived, and whether any exceptions apply.


   6
     In re Grand Jury Subpoena (Mark Torf/Torf Env’t Mgmt.), 357 F.3d 900, 907 (9th Cir. 2004) (citing Fed. R. Civ.
   P. 26(b)(3)).
   7
     Grand Jury Investigation, 974 F.2d at 1073.
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   Ultimately, the Court will issue a written decision including its full analysis and its final
   determination of which, if any, documents must be disclosed to the Select Committee.

          The Clerk shall serve this minute order on the parties.


    MINUTES FORM 11                                                    Initials of Deputy Clerk: kdu

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